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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

JANE DOE et al.,

                    Plaintiffs,
                                              Case No.: 1:25-cv-00286
v.
                                              MEMORANDUM OF POINTS
                                              AND AUTHORITIES IN
PAMELA BONDI, in her official
                                              SUPPORT OF MOTION FOR
capacity as Attorney General of the
                                              TEMPORARY RESTRAINING
United States; and WILLIAM
                                              ORDER AND EXPANDED
LOTHROP, in his official capacity as
                                              PRELIMINARY INJUNCTION
Acting Director of the Federal Bureau of
Prisons,

                    Defendants.


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                                       INTRODUCTION

       Plaintiffs Jane Doe, Mary Doe, Sara Doe, Emily Doe, Zoe Doe, Tori Doe, Olivia Doe,

Susan Doe, Lois Doe, Sophia Doe, Sally Doe, and Wendy Doe are all transgender women

incarcerated in women’s Bureau of Prison’s (“BOP”) facilities. President Trump’s Executive

Order 14168 directs BOP to cut off medically necessary healthcare for Plaintiffs’ gender

dysphoria and to transfer them to men’s prisons.

       This Court entered a temporary restraining order and preliminary injunction to prevent

Defendants from implementing Executive Order 14168 with regard to Jane Doe, Mary Doe, and

Sara Doe while this case proceeds. Dkts. 23, 44. On February 20 and 21, 2025, days after the

Court’s preliminary injunction order, the additional Plaintiffs and other transgender women at

their facilities who were not previously named as Plaintiffs in this case were rounded up by BOP

officials and informed that they would be immediately transferred to men’s prisons and would

have their healthcare terminated pursuant to the Executive Order.

       Plaintiffs Emily Doe, Zoe Doe, Tori Doe, Olivia Doe, Susan Doe, Lois Doe, Sophia Doe,

Sally Doe, and Wendy Doe hereby seek the same relief this Court has already entered as to Jane,

Mary, and Sara Doe. Each of these additional Plaintiffs is similarly situated to Jane, Mary, and

Sara Doe for purposes of the claims in this case, including the Eighth Amendment claims on

which this Court previously granted preliminary relief. All of the newly added Plaintiffs have

confirmed diagnoses of gender dysphoria and have long ago transitioned and live as women,

including being on hormones and, for many, having surgeries. All of the Plaintiffs face serious,

immediate, and irreparable harm if they are transferred to men’s prisons or if their vital medical

care is stopped. Plaintiffs Emily Doe, Zoe Doe, Tori Doe, Olivia Doe, Susan Doe, Lois Doe,

Sophia Doe, Sally Doe, and Wendy Doe therefore seek immediate and preliminary relief to




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enjoin Defendants’ application to them of Sections 4(a) and 4(c) of the Order and to maintain

their housing, medication, and treatment access while this case proceeds.

                                   STATEMENT OF FACTS

       Plaintiffs have previously detailed the facts giving rise to their claims in this case. See

Dkt. 13-1 at 3–5 (Mem. P. & A. in Supp. Mot. for TRO & Prelim. Inj.). Plaintiffs incorporate

their previous statement of facts and present additional information here regarding the new

Plaintiffs in the First Amended Complaint and the developments since the Court’s prior orders.

       Plaintiffs are all housed in women’s facilities. Each of the Plaintiffs has been housed in a

women’s facility for months or years. (FAC ¶¶ 2–40.) While housed in women’s facilities,

Plaintiffs have received hormone medications necessary to ensure their health and safety—most

of them for over a decade. (E.g., FAC ¶¶ 17, 20, 23.)

       Plaintiffs have all been diagnosed with gender dysphoria and have maintained medically

necessary hormone treatment for their gender dysphoria for years. Many have had surgeries to

live as women. (FAC ¶¶ 10, 17, 20, 38.) All have had their medical care overseen by BOP

doctors. The Plaintiffs who have had genital surgery no longer produce sex hormones

endogenously, which means that they need hormone medication to maintain their overall health

and wellbeing. (E.g., FAC ¶¶ 17, 20.)

       Transferring Plaintiffs to men’s facilities will place them in immediate physical and

psychological danger. Transgender women housed in men’s prisons face extremely high levels

of violence and sexual assault, as well as pervasive sexual harassment. Many of the Plaintiffs

have been raped and survived attempted rapes when previously housed in men’s facilities. (E.g.,

FAC ¶¶ 5, 8, 21, 24.)

       On January 20, 2025, President Trump issued Executive Order 14168. In relevant part,

the Order: (1) bars transgender women from women’s prisons, mandating their transfer to men’s


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facilities regardless of individual safety considerations, Exec. Order No. 14168 § 4(a); and (2)

prohibits BOP from providing “any medical procedure, treatment, or drug for the purpose of

conforming an inmate’s appearance to that of the opposite sex.” Id. § 4(c). On January 24 and

25, 2025, BOP officials removed Plaintiffs from the general population of their women’s

facilities, placed them into segregated units, and told them they would be imminently moved to

men’s facilities because of the Executive Order. (FAC ¶¶ 62–72.) Jane Doe, Mary Doe, and

Sara Doe filed suit on January 30, 2025, to prevent their transfer and to stop the threatened

termination of their necessary medical care. The Court entered a preliminary injunction with

regard to those three Plaintiffs on February 18, 2025. Dkt. 44.

       On February 20 and 21, 2025, BOP officials informed all of the Plaintiffs except Jane

Doe, Mary Doe, and Sara Doe that they will be transferred to men’s prisons in the coming days,

and that their medical treatment for gender dysphoria will stop when they arrive at male

facilities. (FAC ¶¶ 74–75.) Plaintiffs seek immediate relief to prevent these transfers and ensure

Plaintiffs’ medical treatment continues. Plaintiffs thus seek to expand the coverage of the

Court’s preliminary injunction to cover all Plaintiffs in the First Amended Complaint. 1 Plaintiffs
                                                                                        0F




also provide an additional legal basis for an expanded injunction based on the claim in Count




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  Plaintiffs’ counsel continues to learn about additional women who are similarly situated
to the Plaintiffs. Those women are also at imminent risk of harm and could be
imminently transferred to men’s prisons or cut off from necessary medical care. BOP has
been recalcitrant in following this Court’s earlier TRO which broadly prevented BOP
from enforcing the challenged provisions of the Executive Order. Plaintiffs ask this
Court to issue a facial injunction to ensure that BOP does not enforce the Executive
Order as to other women in the same circumstances as the Plaintiffs herein. This Court’s
failure to do so risks BOP personnel again rounding up even these women to rehouse
them.

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VII: that Section 4(a) of the Executive Order is unconstitutional as an ultra vires act in violation

of the separation of powers.

                                        LEGAL STANDARD

        In order to obtain a temporary restraining order or preliminary injunction, a moving party

must “make a ‘clear showing’ that (1) it has a likelihood of success on the merits, (2) the balance

of equities favors preliminary relief, (3) an injunction is in the public interest, and (4) it will

likely suffer irreparable harm before the district court can resolve the merits of the case.” Singh

v. Berger, 56 F.4th 88, 95 (D.C. Cir. 2022); see also Archdiocese of Washington v. Washington

Metro. Area Transit Auth., 897 F.3d 314, 321 (D.C. Cir. 2018) (stating preliminary injunction

standard); Chef Time 1520 LLC v. Small Bus. Admin., 646 F. Supp. 3d 101, 109 (D.D.C. 2022)

(“The decision of whether to award a TRO is ‘analyzed using the same “factors applicable to

preliminary injunctive relief,”’” (quoting Banks v. Booth, 459 F. Supp. 3d 143, 149 (D.D.C.

2020)). All four factors support granting temporary restraints and a preliminary injunction in

this matter.

        The purpose of preliminary relief is to preserve the status quo pending resolution of the

underlying litigation. Dist. 50, United Mine Workers of Am. v. Int’l Union, United Mine Workers

of Am., 412 F.2d 165, 168 (D.C. Cir. 1969). The same is true of temporary restraining orders.

Granny Goose Foods, Inc. v. Bhd. of Teamsters and Auto Truck Drivers Loc. No. 70 of Alameda

Cnty., 415 U.S. 423, 439 (1974). The relevant status quo is the “last uncontested status which

preceded the pending controversy.” Dist. 50, United Mine Workers of Am., 412 F.2d at 168; see

also Huisha-Huisha v. Mayorkas, 27 F.4th 718, 733 (D.C. Cir. 2022). Here, the last uncontested

status is that which existed prior to January 20, 2025.




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                                           ARGUMENT

I.     PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS

       A.      Plaintiffs Are Likely to Succeed on the Merits of Their Eighth Amendment
               Claims

       This Court has already concluded that Jane Doe, Mary Doe, and Sara Doe are likely to

succeed on the merits of their Eighth Amendment claims. Dkt. 23 at 8–10; Dkt. 44 at 1–2. The

other Plaintiffs are all similarly situated to Jane, Mary, and Sara Doe for purposes of their Eighth

Amendment claims because they all have diagnosed gender dysphoria, medically prescribed and

necessary treatment plans that will be cut off by Defendants’ actions implementing the Executive

Order, and serious risks of sexual violence and other harms if they are transferred to men’s

prisons.

       As this Court previously noted, “various government reports and regulations recogniz[e]

that transgender persons are at a significantly elevated risk of physical and sexual violence

relative to other inmates when housed in a facility” based on their sex assigned at birth. Dkt. 23

at 8–9. Moreover, “placement in a male penitentiary by itself will exacerbate the symptoms of

[Plaintiffs’] gender dysphoria, even if they are not subject to physical or sexual violence in their

new facility—whether because they will be subject to searches by male correctional officers,

made to shower in the company of men, referred to as men, forced to dress as men, or simply

because the mere homogenous presence of men will cause uncomfortable dissonance.” Id. at 9.

Defendants’ actions to end Plaintiffs’ gender dysphoria treatment will place them at risk of

“numerous and severe symptoms,” and “BOP is subjectively aware that transferring the plaintiffs

to a male penitentiary would substantially increase the likelihood of them experiencing this

parade of harms.” Id. These findings apply to each of the newly added Plaintiffs in the First

Amended Complaint, just as the Court found with regard to Jane, Mary, and Sara Doe.



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       As Plaintiffs have previously argued, Prison officials violate the Eighth Amendment

when they are deliberately indifferent to prisoners’ serious medical needs or fail to protect

incarcerated individuals from a substantial risk of violence at the hands of other prisoners. See

Estelle v. Gamble, 429 U.S. 97, 104 (1976); Farmer v. Brennan, 511 U.S. 825, 833-34 (1994).

The Order violates the Eighth Amendment by imposing a blanket medical treatment ban that

denies necessary care and by mandating that all transgender women must be housed with men,

both of which expose Plaintiffs to severe harm.

               1.      The Executive Order Subjects Plaintiffs to Cruel and Unusual
                       Punishment by Failing to Protect Them From a Serious Risk of Bodily
                       Harm

       As this Court has found, Plaintiffs have a strong likelihood of success on the merits of

their Eighth Amendment claim that Defendants are failing to protect them from a serious risk of

bodily harm by transferring them to men’s facilities pursuant to the Order. “[P]rison officials

have a duty . . . to protect prisoners from violence at the hands of other prisoners.” Farmer, 511

U.S. at 833 (quoting Cortes-Quinones v. Jimenez-Nettleship, 842 F.2d 556, 558 (1st Cir. 1988)).

Plaintiffs’ failure-to-protect claim requires them to establish both incarceration “under conditions

posing a substantial risk of serious harm” and that the threatened harm is “objectively,

‘sufficiently serious.’” Id. at 833–34 (quoting Wilson v. Seiter, 501 U.S. 294, 298 (1991)).

       Without question, physical and sexual violence constitute objectively serious

deprivations. Here, Plaintiffs face clear risks of violence, rape, and sexual assault if they are

housed with men. Federal regulations recognize transgender status as increasing “risk of sexual

victimization”; accordingly, the regulations require individualized risk assessment for housing

decisions. 28 C.F.R. § 115.41(d)(7); id. § 115.42(c)–(d). Plaintiffs’ long-term hormone therapy

and previous placement in women’s facilities further demonstrate their heightened risk. Indeed,




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multiple Plaintiffs have been sexually assaulted while housed in BOP men’s facilities. (E.g.,

FAC ¶¶ 5, 8, 21, 24.)

       The subjective element requires showing officials “know[] of and disregard[] an

excessive risk to inmate health or safety.” Farmer, 511 U.S. at 837. Courts have consistently

found this element satisfied when officials knowingly house transgender women in men’s

prisons. See Doe v. District of Columbia, 215 F. Supp. 3d 62, 77 (D.D.C. 2016) (“[A] jury could

infer that [prison officials] knew Doe faced a substantial risk of rape because of her status as a

transgender woman.”); Stover v. Corr. Corp. of Am., No. 12-cv-00393, 2015 WL 874288, at *9–

10 (D. Idaho Feb. 27, 2015); Lojan v. Crumbsie, No. 12-CV-0320, 2013 WL 411356, at *4

(S.D.N.Y. Feb. 1, 2013); see also Zollicoffer, 169 F. Supp. 3d at 691 (noting that the

“vulnerability of transgender prisoners to sexual abuse is no secret”).

       The Order’s directive to amend 28 C.F.R. § 115.41 to enable blanket transfers of

transgender women to men’s facilities, regardless of individual risk, demonstrates Defendants’

awareness and disregard of known dangers. This deliberate indifference is further evidenced by

Defendants’ implementation of the Order despite previously acknowledging these risks by

placing Plaintiffs in women’s facilities. These facts establish the subjective element of

Plaintiffs’ failure-to-protect claim. Plaintiffs have demonstrated a strong likelihood of success

on the merits of their Eighth Amendment claim.

               2.       The Executive Order Mandates Deliberate Indifference to Plaintiffs’
                        Serious Medical Needs Through Its Blanket Ban on Gender
                        Dysphoria Treatment

       “[D]eliberate indifference to serious medical needs of prisoners” violates the Eighth

Amendment. Estelle, 429 U.S. at 104. This requires both “a known, serious medical condition”

and that officials possessed “subjective knowledge of the serious medical need and recklessly




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disregarded the excessive risk to inmate health or safety from that risk.” Bernier v. Allen, 38

F.4th 1145, 1151 (D.C. Cir. 2022).

       Plaintiffs easily satisfy the objective component. Gender dysphoria is a serious,

medically recognized disorder. See, e.g., Edmo v. Corizon, Inc., 935 F.3d 757, 769 (9th Cir.

2019); De’Lonta v. Angelone, 330 F.3d 630, 634 (4th Cir. 2003); Cuoco v. Moritsugu, 222 F.3d

99, 106 (2d Cir. 2000). The Order’s categorical ban on federally funded medical care for gender

dysphoria denies all treatment for this serious condition, including Plaintiffs’ prescribed hormone

medication and other care.

       For the subjective component, “refusal to provide timely, available, and appropriate

treatment for a known, serious medical condition posing excessive risk to an inmate’s health or

safety [constitutes] deliberate indifference in violation of the Eighth Amendment.” Bernier, 38

F. 4th at 1151. This includes when treatment decisions are “based exclusively on nonmedical

considerations . . . rather than any medical justification.” Id. The imposition of a blanket ban on

medical treatment for gender dysphoria satisfies this component. See, e.g., Keohane v. Fla.

Dep’t of Corr. Sec’y, 952 F.3d 1257, 1267 (11th Cir. 2020) (citing Fields v. Smith, 653 F.3d 550,

559 (7th Cir. 2011). “[R]esponding to an inmate’s acknowledged medical need with what

amounts to a shoulder-shrugging refusal even to consider whether a particular course of

treatment is appropriate is the very definition of ‘deliberate indifference.’” Id. at 1266–67.

       Defendants have provided Plaintiffs with hormone medication and treatment for months

or years to treat Plaintiffs’ gender dysphoria diagnoses. The Order now mandates denial of this

medically necessary care, which will cause severe harm as each of the Plaintiffs’ conditions

worsens. This deliberate termination of treatment for a recognized serious condition meets the




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objective and subjective requirements for deliberate indifference. See Fields, 653 F.3d at 556.

Plaintiffs thus demonstrate a strong likelihood of success on this claim.

       B.      Plaintiffs Are Likely to Succeed on the Merits of Their Equal Protection
               Claim

       As the Court has recognized, Plaintiffs’ Eighth Amendment claims are sufficient to

sustain temporary restraints and a preliminary injunction to prevent Defendants from

implementing the Executive Order with regard to Plaintiffs. However, Defendants’

implementation also violates Plaintiffs’ Equal Protection rights and may be enjoined on that

basis as well. Plaintiffs ask this Court to extend the protections in the Preliminary Injunction

under the Eighth Amendment grounds already decided to ensure that the additional women

named in the amended complaint are protected. Plaintiffs make the Equal Protection argument

as an alternative ground to support immediate relief herein largely to preserve the argument as

this case moves forward.

       As Plaintiffs have argued, sex-based laws trigger heightened scrutiny, requiring the

government to show “at least that the [challenged] classification serves important governmental

objectives and that the discriminatory means employed are substantially related to the

achievement of those objectives.” United States v. Virginia (VMI), 518 U.S. 515, 533 (1996).

       Defendants have claimed that the deferential standard of Turner v. Safley, 482 U.S. 78

(1987), should apply to Plaintiffs’ equal protection claims instead of heightened scrutiny.

Defendants rest this argument on Women Prisoners of District of Columbia Department of

Corrections v. District of Columbia, 93 F.3d 910 (D.C. Cir. 1996), which held that the D.C.

Department of Corrections could constitutionally offer different and fewer programs at a

women’s prison than at a vastly larger men’s prison, id. at 925–27.




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       Women Prisoners does not support Defendants’ claim. Women Prisoners did not apply

the Turner standard; the circuit instead concluded that its decision was “altogether consistent

with the Supreme Court’s most recent articulation of equal protection principles in United States

v. Virginia.” Id. at 926. The circuit held that the plaintiffs’ claim failed because the plaintiffs

were not similarly situated to male prisoners due to the size of their respective facilities. Id. The

circuit further held that the programs offered at the women’s prison were appropriately tailored

to the facility’s size. Id. Contrary to Defendants’ characterization, the court did not hold that the

programmatic differences between the prisons were constitutional because they were “reasonably

related to legitimate penological interests.” Turner, 482 U.S. at 89.

       Defendants rely on Women Prisoners primarily for its citation to Pitts v. Thornburgh, 866

F.2d 1450 (D.C. Cir. 1989), which held that the separation of prisoners into men’s and women’s

facilities was constitutional. Id. at 1456; see Women Prisoners, 93 F.3d at 926. But Pitts itself

shows why Defendants’ argument is wrong. The circuit applied heightened scrutiny to the equal

protection challenge in Pitts, rejecting the Turner standard. Pitts, 866 F.2d at 1453–55. It did so

for two reasons: first, because Pitts (like this case) involved “general budgetary and policy

choices” rather than “regulations that govern the day-to-day operation of prisons and that restrict

the exercise of prisoners’ individual rights within prisons”; and second, because Pitts (like this

case) “touche[d] upon important concerns that the Supreme Court has clearly held call for

stepped-up scrutiny.” Id. at 1453–54.

       Just like Plaintiffs’ claims in this case, the claim in Pitts called for heightened scrutiny

because “Plaintiffs allege facial gender discrimination, a classification that traditionally

summons heightened scrutiny.” Id. at 1454. As Pitts explained, sex discrimination claims

brought by incarcerated people should receive heightened scrutiny because such claims “differ in




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kind from challenges to limitations upon personal rights that Turner subjects to” less searching

review. Id. at 1455. The Supreme Court confirmed the reasoning of Pitts in the context of race

discrimination in Johnson v. California, 543 U.S. 499 (2005), holding that “[t]he right not to be

discriminated against based on one’s race is not susceptible to the logic of Turner.” Id. at 510.

       It makes no difference to Plaintiffs’ claims that after applying heightened scrutiny, Pitts

ultimately affirmed the separation of men’s and women’s prisons. Plaintiffs do not challenge the

existence of separate men’s and women’s facilities; they challenge Defendants’ policy of

categorically moving transgender women to men’s prisons based solely on their sex assigned at

birth. The threshold dispute in this case is whether heightened scrutiny applies to Defendants’

facial sex classification, and Pitts and Johnson make clear that it does. Pitts, 866 F.2d at 1454–

55 (holding that the “dangers of gender discrimination . . . emphasize[] the need for heightened

scrutiny in this case”); Johnson, 543 U.S. at 515 (holding that heightened scrutiny applied and

leaving for remand whether the policy was unconstitutional when subject to such scrutiny).

       Moreover, laws that discriminate on other quasi-suspect bases are also subject to

heightened scrutiny. Even under rational basis review, laws also violate the requirement of equal

protection when based on “a bare [governmental] desire to harm a politically unpopular group,”

U.S. Dep’t of Agric. v. Moreno, 413 U.S. 528, 534 (1973), or “mere negative attitudes, or fear,”

City of Cleburne v. Cleburne Living Center, 473 U.S. 432, 448 (1985). Here, in addition to

failing heightened scrutiny, Sections 4(a) and 4(c) fail even this basic test.

               1.      Sections 4(a) and 4(c) Trigger Heightened Scrutiny

       As Plaintiffs have argued, Section 4(a) creates an explicit sex-based classification by

mandating that BOP assign housing based solely on birth sex and by categorically prohibiting

transgender women from being housed in women’s facilities. Section 4(c) similarly relies on an

explicit sex-based classification because it uses birth sex as the sole criterion to prohibit certain


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medical treatments. Section 4(c) also discriminates specifically against transgender individuals

by denying them essential healthcare while continuing to provide such care—including, in some

cases, the same medications and procedures—to non-transgender people. These classifications

trigger heightened scrutiny in three independent ways.

       First, Sections 4(a) and 4(c) make a facial sex-based classification by using birth sex as

the sole criterion for housing assignments and for the prohibition of necessary medical care.

Second, by targeting transgender people for different treatment, Sections 4(a) and 4(c)

necessarily create sex-based classifications. This District has previously concluded that

transgender classifications are sex-based classifications, requiring heightened scrutiny under the

Equal Protection Clause. Doe 1 v. Trump, 275 F. Supp. 3d 167, 209 (D.D.C. 2017), vacated on

other grounds sub nom. Doe 2 v. Shanahan, 755 F. App’x 19 (D.C. Cir. 2019). Multiple circuit

courts concur. See Fowler v. Stitt, 104 F.4th 770, 793 (10th Cir. 2024); Kadel v. Folwell, 100

F.4th 122, 153-54 (4th Cir. 2024) (en banc); Hecox v. Little, 104 F.4th 1061, 1079–80 (9th Cir.

2024); see also Whitaker v. Kenosha Unified Sch. Dist., 858 F.3d 1034, 1051 (7th Cir. 2017).

       Third, transgender people constitute a quasi-suspect class because they meet all four

criteria established by the Supreme Court. See Doe 1, 275 F. Supp. 3d at 208–09. Transgender

people have suffered pervasive discrimination throughout history, including laws and policies

that: (i) criminalized their ability to dress and appear as who they are; (ii) banned them from

federal employment and military service; (iii) excluded them from marriage; (iv) terminated their

parental rights; and (v) restricted their ability to obtain healthcare. Transgender people share the

immutable and distinguishing characteristic of having a sex different than the sex assigned to

them at birth, and they have been unable to secure basic rights through the political process. For

all these reasons, federal courts throughout the country have held that transgender-status




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discrimination triggers heightened scrutiny. See, e.g., Grimm v. Gloucester Cnty. Sch. Bd., 972

F.3d 586, 610–11 (4th Cir. 2020) (collecting authorities).

               2.      Section 4(a) Fails Heightened Scrutiny

       Under heightened scrutiny, Section 4(a) fails because it serves no important or even

legitimate governmental purpose. Rather than advancing a legitimate penological interest,

Section 4(a)’s categorical rule puts transgender women at severe risk of harm and prevents

prison officials from exercising their discretion to make housing placements based on

individualized safety and security considerations. The provision undermines rather than

advances safety.

       As the Court has found with regard to Plaintiffs’ Eighth Amendment claims, Section

(4)(a) creates severe risks of physical and sexual assault for Plaintiffs by forcing them into men’s

facilities with no consideration of individualized circumstances, their individual safety and

security, or the impact on the overall safety and security of the institution. Dkt. 23 at 8–9;

accord Zollicoffer v. Livingston, 169 F. Supp. 3d 687, 691 (S.D. Tex. 2016) (“[T]he vulnerability

of transgender prisoners to sexual abuse is no secret.”).

       In addition, Section 4(a)’s categorical mandate conflicts with PREA regulations that

identify transgender women as a group at high risk of sexual victimization and require

individualized housing determinations. 28 C.F.R. § 115.42. The Order provides no legitimate

security or penological justification for replacing this established individualized approach with a

categorical ban on placement in women’s facilities. For that reason, the Order plainly fails

heightened scrutiny and would fail even the deferential Turner standard.

       The Order also relies on “overbroad generalizations,” VMI, 518 U.S. at 533, by claiming

without evidence that transgender women inherently threaten safety in women’s facilities. By

suggesting transgender individuals seek access to single-sex spaces for improper purposes, the


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Order impermissibly depends on stereotypes rather than individual assessments or facts.

Transgender women pose no unique safety threats to other women, as multiple federal courts

have recognized. See Tay v. Dennison, 457 F. Supp. 3d 657, 681 (S.D. Ill. 2020) (finding that

such generalizations “are the precise kind of generalized concerns for prison security that courts

routinely object”); Hampton v. Baldwin, No. 18-CV-550, 2018 WL 5830730, at *11 (S.D. Ill.

Nov. 7, 2018) (rejecting the claim that a blanket “policy of placing transgender inmates in the

facility of their assigned sex at birth is substantially related to the achievement of prison

security”); Doe v. Mass. Dep’t of Corr., No. 17-12255, 2018 WL 2994403, at *10 (D. Mass.

June 14, 2018) (“Generalized concerns for prison security are insufficient to meet the

‘demanding burden’ placed on the [government] to justify sex-based classifications”).

       Plaintiffs have been incarcerated in women’s facilities for months or years; Plaintiff

Wendy Doe, for instance, has been incarcerated in women’s facilities for

          . (FAC ¶ 38.) To determine these housing assignments, BOP officials weighed

Plaintiffs’ individual circumstances, as required by the Prison Rape Elimination Act (PREA),

and determined that the safest and most appropriate placement for Plaintiffs is in women’s

facilities, in part because they would be at extremely high risk for physical and sexual assault in

men’s prisons. See 28 C.F.R. §§ 115.42(b)–(c). The Order’s categorical transfer policy is not

substantially related to advancing any safety objective or other legitimate government interest;

instead, it rests entirely on “overbroad generalizations” and hostility toward transgender people.

VMI, 518 U.S. at 533.

               3.       Section 4(c) Fails Heightened Scrutiny

       Section 4(c)’s blanket ban on gender dysphoria treatment for incarcerated transgender

people also fails heightened scrutiny because it lacks a substantial relationship to important

governmental interests. The ban categorically overrides medical judgment to deny medically


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necessary and prescribed care based solely on transgender status. No legitimate medical or

penological interest justifies this sweeping prohibition. See Fields v. Smith, 712 F. Supp. 2d 830,

868 (E.D. Wis. 2010), aff’d on other grounds, 653 F.3d 550 (7th Cir. 2011) (finding “no

reasonably conceivable state of facts provides a rational tie” between “prison safety and

security” and banning gender transition care for incarcerated transgender people).

       As a result, Section 4(c) could not survive even Turner review, much less heightened

scrutiny. Courts have consistently held that categorical bans on gender transition care lack any

rational relationship to legitimate penological interests. See id. at 868; Cordellioné v. Comm’r,

Ind. Dep’t of Corr., No. 23-cv-00135, 2024 WL 4333152, at *17 (S.D. Ind. Sept. 17, 2024). The

government’s arbitrary discontinuation of established medical care fails to serve any legitimate

government interest, much less survive the demanding requirements of heightened scrutiny.

               4.      Sections 4(a) and 4(c) Fail Even Rational Basis Review Because They
                       Are Based on Animus Toward Transgender People

       The challenged provisions of the Order also violate equal protection because they are

rooted in animus and thus cannot survive even rational basis review. State action motivated by

“animus toward the class it affects” is unconstitutional under any level of scrutiny. Romer, 517

U.S. at 632. Like the amendment in Romer, the Order singles out a specific group of people and

denies them basic protections—here, access to safe housing and medical care—while preserving

those protections for others. Id. at 631–33.

       The President’s campaign statements made clear that the Order was motivated by animus

toward transgender Americans. The President’s statements calling transgender Americans

“insan[e]” and “deranged” only underscore that the discriminatory Order stems from hostility

toward transgender people rather than a legitimate purpose. (FAC ¶ 92.) During the campaign,




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the President vowed that “with a stroke of [his] pen on day one” he would “stop the transgender

lunacy.” (Id. ¶ 95.) The Order is the result of the animus expressed in that promise.

         The Order’s withdrawal of established protections, the severe harms it affirmatively

imposes, and the absence of any rational connection to legitimate governmental interests show

that it is based on animus and, as such, violates the Equal Protection Clause. Moreno, 413 U.S.

at 534; City of Cleburne, 473 U.S. at 448.

         C.       Plaintiffs Are Likely to Succeed on the Merits of Their Separation of Powers
                  Claim

         In the First Amended Complaint, Plaintiffs add a further challenge to the implementation

of Section 4(c) because that Section of the Executive Order violates the constitutional separation

of powers, encroaches on Congress’s Spending and Appropriations powers, and violates the

Bicameralism and Presentment requirements for repealing statutes. Plaintiffs have a strong

likelihood of success on this claim. As set forth above, Plaintiffs urge the expansion of the

Preliminary Injunction on the Eighth Amendment ground already decided by this Court and

make the Separation of Powers argument here because of its strength and to preserve it in the

case going forward.

         It is foundational to the structure of our federal government that “[t]he legislature . . .

commands the purse.” The Federalist, No. 78 (Alexander Hamilton). This bedrock principle is

expressed in the Spending and Appropriations Clauses of the Constitution, which together grant

Congress the exclusive power to authorize the distribution of federal money. U.S. Const. art. I,

§ 8, cl. 1; id., art. I, § 9, cl. 7.

         Because the power to appropriate funds is granted to Congress alone, “the President does

not have unilateral authority to refuse to spend the funds” appropriated by Congress. In re Aiken

County, 725 F.3d 255, 261 n.1 (D.C. Cir. 2013) (Kavanaugh, J.); see also City & County of San



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Francisco v. Trump, 897 F.3d 1225, 1232 (9th Cir. 2018) (“[T]he President is without authority

to thwart congressional will by canceling appropriations passed by Congress.”). Congress has

not delegated to the President the power to withhold funds appropriated to BOP for necessary

medical care, regardless of the President’s policy disagreement with providing that care. In the

absence of such delegation, in this case “the President’s ‘power is at its lowest ebb,’” and he “has

none of ‘his own constitutional powers’ to ‘rely’ upon.” City & County of San Francisco, 897

F.3d at 1233–34 (quoting Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952)

(Jackson, J., concurring)).

       Congress has put in place a procedure the President must follow to rescind the

appropriation of federal funds. When the President does not want appropriated funds to be spent

“for fiscal policy or other reasons,” the President is required by statute to propose this rescission

to Congress; Congress then determines whether to introduce and vote on a “rescission bill”

effectuating the requested withholding. 2 U.S.C. § 683; Aiken County, 725 F.3d at 261 n.1

(“[T]he President must propose the rescission of funds, and Congress then may decide whether

to approve a rescission bill.”) Such funds must remain available while Congress considers the

President’s request. 2 U.S.C. § 683(b). Section 4(c) of the Executive Order ignores that

procedure and arrogates to the President and subordinate executive officials the power to

determine whether appropriated funds should be spent. Exec. Order No. 14168 § 4(c) (directing

the Attorney General to “ensure that no Federal funds are expended” for the purpose of treating

gender dysphoria).

       For similar reasons, Section 4(c) violates the Bicameralism and Presentment

requirements of the Constitution, the “single, finely wrought and exhaustively considered,

procedure” for enacting and repealing federal statutes. I.N.S. v. Chadha, 462 U.S. 919, 951




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(1983). Because Congress’s statutory appropriations can be repealed only through this

constitutional process, the Supreme Court has rejected the claim that the President may rescind

individual spending items by “relying on his own policy judgment.” Clinton v. City of New

York, 524 U.S. 417, 444 (1998). As the Court held in Clinton v. City of New York, the President

may not unilaterally rescind appropriations “even when Congress specifically authorized the

President’s action.” City & County of San Francisco, 897 F.3d at 1232 (citing Clinton, 524 U.S.

at 439). The President has even less power to do so here because Congress has not granted the

President any authority to withhold funding for medically necessary treatment for transgender

people incarcerated in BOP facilities.

       For those reasons, Plaintiffs have a high likelihood of success on their separation of

powers claim.

       D.       Plaintiffs Are Likely to Succeed on the Merits of Their Administrative
                Procedure Act Claim

       Plaintiffs have also challenged the implementation of both Section 4(a) and 4(c) under

the Administrative Procedure Act (“APA”). As set forth above with respect to the Equal

Protection and Separation of Powers arguments, Plaintiffs do not believe the Court needs to

address this claim to expand the Preliminary Injunction in this case, and Plaintiffs make the

argument here to preserve it for the case. An agency’s actions implementing an executive order

are generally subject to the APA. Int’l Refugee Assistance Project v. Trump, 373 F. Supp. 3d

650, 665 (D. Md. 2019), rev’d on other grounds, 961 F.3d 635 (4th Cir. 2020); see also Hawaii

v. Trump, 878 F.3d 662, 680–81 (9th Cir. 2017), rev’d on other grounds, 585 U.S. 667 (2018).

Defendants have argued that their blanket transfer and medication-denial policies are nonetheless

unreviewable under the APA because of 18 U.S.C. §§ 3621(b) and 3625. Defendants are wrong.




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        Section 3621(b) states that “a designation of a place of imprisonment under this

subsection is not reviewable by any court.” 18 U.S.C. § 3621(b) (emphasis added). That

subsection addresses individualized designations and transfers based on BOP’s discretionary

determinations of the “appropriate and suitable” housing for incarcerated people. Id. Plaintiffs’

imminent transfers to men’s facilities are not the result of individualized determinations made

under § 3621(b); they are instead the result of BOP’s blanket, unconstitutional transfer policy

implementing Executive Order 14168. By its terms, the non-reviewability provision of

§ 3621(b) is inapplicable to Plaintiffs’ claims.

        That is not the only textual problem with Defendants’ argument. The statute also makes

clear that the initial “designation of a place of imprisonment” differs from the subsequent

transfer of an incarcerated person to new housing. Id. (discussing requirements when

“designating the place of imprisonment or making transfers under this subsection”). “[W]hen

the legislature uses certain language in one part of the statute and different language in another,

the court assumes different meanings were intended.” Sosa v. Alvarez-Machain, 542 U.S. 692,

711 n.9 (2004). Under the plain language of § 3621(b), the bar to judicial review in that

subsection applies only to challenges to BOP’s initial “designation of a place of imprisonment,”

not subsequent transfers. 18 U.S.C. § 3621(b). Courts begin from a “strong presumption

favoring judicial review of agency action,” and the absence of any language in § 3621(b)

precluding review of transfers does not rebut that presumption. Weyerhaeuser Co. v. U.S. Fish

& Wildlife Serv., 586 U.S. 9, 23 (2018) (quoting Mach Mining, LLC v. EEOC, 575 U.S. 480, 486

(2015)). Moreover, no part of § 3621(b) pertains to the denial of medical care under Section 4(c)

of the Order that Plaintiffs also challenge in this suit.




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        Defendants argue that 18 U.S.C. § 3625 also bars APA review of their blanket transfer

and medication denial policies implementing the Executive Order. Again, § 3625 has nothing to

do with BOP’s medical care denials under Section 4(c). Furthermore, Defendants’ claim about

§ 3625 fails for the same reason as their claim about § 3621(b): § 3625 bars APA review only of

a “determination, decision, or order under this subchapter.” 18 U.S.C. § 3625 (emphasis added).

As this Court has previously concluded, § 3625 “applies only to decisions made under 18 U.S.C.

§§ 3621–3626, and thus, by its terms, not to decisions made under” other provisions of law.

Royer v. Fed. Bureau of Prisons, 933 F. Supp. 2d 170, 181 (D.D.C. 2013) (Lamberth, C.J.). 18

U.S.C. § 3625 does not bar Plaintiffs’ APA claims because the BOP action challenged in this

case is an unlawful policy created to implement the Executive Order, not an individualized

“determination, decision, or order” under §§ 3621–3626. 18 U.S.C. § 3625.

        Other language in § 3625 confirms that the provision does not bar review of BOP policies

like the blanket transfer policy here. As other courts considering that statute have noted, “[t]he

specific provisions of the APA excluded” by § 3625 “apply to individual adjudications and their

judicial review.” Iacaboni v. United States, 251 F. Supp. 2d 1015, 1036 (D. Mass. 2003)

(emphasis in original). The statute does not include 5 U.S.C. § 553, the section of the APA that

governs rulemaking. See 18 U.S.C. § 3625 (exempting BOP decisions under that subchapter

from “sections 554 and 555 and 701 through 706 of title 5, United States Code”). For that

reason, courts have routinely interpreted § 3625 to “provide[] that rule-making activities are

reviewable under the APA, while ‘adjudication[s] of specific cases are not.’” Iacaboni, 251 F.

Supp. 2d at 1036–37 (collecting cases); see also Jasperson v. Fed. Bureau of Prisons, 460 F.

Supp. 2d 76, 83–84 (D.D.C. 2006) (concluding that “challenges to rulemaking are not precluded

by the statute”).




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       BOP’s blanket transfer policy is a (procedurally improper) rulemaking activity for which

§ 3625 does not preclude review, not an individual adjudication covered by that statute. BOP’s

policy runs directly contrary to Prison Rape Elimination Act (“PREA”) regulations that require

individualized determinations of “health and safety” risks to transgender incarcerated people

before making housing assignments. 28 C.F.R. § 115.42(c). Those regulations were enacted

through notice-and-comment rulemaking under 5 U.S.C. § 553. See 77 Fed. Reg. 37106, 37204

(2012). BOP’s blanket housing policy implementing the Executive Order prohibits the “case-by-

case” determinations required by PREA, 28 C.F.R. § 115.42(c), and it effectively rescinds PREA

regulations without following the procedures required by 5 U.S.C. § 553. Perez v. Mortg.

Bankers Ass’n, 575 U.S. 92, 101 (2015) (holding that the APA “mandate[s] that agencies use the

same procedures when they amend or repeal a rule as they used to issue the rule in the first

instance”).

       The Order instructs the Attorney General to “amend[], as necessary,” the PREA

regulations to allow this blanket transfer policy. Exec. Order No. 14,168 § 4(a). The Attorney

General has not done so; instead, Defendants have “simply disregard[ed] rules that are still on

the books.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009). Because

Defendants have not followed the necessary procedures to rescind the PREA regulations and

instead are simply disregarding those regulations, the blanket transfer policy violates the APA.

       Defendants’ implementation of Sections 4(a) and 4(c) of the Order is also “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with the law” and is “contrary

to constitutional right, power, privilege, or immunity.” 5 U.S.C. § 706. BOP’s decision to

transfer Plaintiffs to men’s facilities and to deny them medical care solely because of their birth

sex is unconstitutional and thus also violates 5 U.S.C. § 706(2)(B). The agency’s action is also




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arbitrary and capricious because it fails to consider important aspects of the problem or offers an

explanation so implausible it cannot be attributed to agency expertise or differing viewpoints.

Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983). Additionally, departing from agency precedent without explanation, as Defendants have

done, constitutes arbitrary and capricious action. Lemoyne-Owen College v. NLRB, 357 F.3d 55,

60–61 (D.C. Cir. 2004). Defendants’ actions are also arbitrary and capricious because they rely

on pretextual and contrived reasoning. Dep’t of Com. v. New York, 588 U.S. 752, 785 (2019).

II.    PLAINTIFFS WILL SUFFER IRREPARABLE HARM ABSENT THIS COURT’S
       INTERVENTION

       This Court has previously found that Jane Doe, Mary Doe, and Sara Doe would suffer

irreparable harm without temporary restraints and a preliminary injunction to prevent Defendants

from enforcing the Sections 4(a) and 4(c). Dkt. 23 at 10. The additional Plaintiffs face the same

immediate, irreparable harms if the Court does not grant temporary and preliminary relief.

       Without a preliminary injunction, Plaintiffs face imminent transfer to all-male facilities

where they will experience an extremely high risk of sexual assault and physical violence. See,

e.g., Greene v. Bowles, 361 F.3d 290, 292 (6th Cir. 2004) (describing a severe physical attack

against a transgender woman by another prisoner); Tay v. Dennison, 457 F. Supp. 3d 657, 664–

68 (S.D. Ill. 2020) (describing severe sexual misconduct against a transgender woman by prison

staff and physical attack by a male prisoner). Several of the Plaintiffs have previously suffered

sexual assaults while housed in men’s facilities. (E.g., FAC ¶¶ 5, 8, 21, 24.) Plaintiffs also face

the abrupt discontinuation of their medically necessary hormone medications and care. Denying

them this critical treatment for gender dysphoria will inflict severe emotional distress—including

a high risk of suicidality—and irreversible physical changes. (See Ettner Decl. ECF 013-6 ¶¶ 7,




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10.) These imminent injuries, both physical and psychological, cannot be remedied through

monetary compensation.

III.    THE BALANCE OF HARMS AND PUBLIC INTEREST WEIGH HEAVILY IN
        FAVOR OF EMERGENCY RELIEF

        The balance of equities strongly favors Plaintiffs. As this Court has found, “the public

interest in seeing the plaintiffs relocated immediately to male facilities is slight at best,” even

crediting the Executive Order’s false and discriminatory claims. Dkt. 23 at 11. Moreover, “it is

hard to cognize of any public interest in the immediate cessation of [Plaintiffs’] hormone

therapy.” Id. Rather, it is “always in the public interest to prevent the violation of a party’s

constitutional rights.” Banks v. Booth, 468 F. Supp. 3d 101, 124 (D.D.C. 2020) (internal

citations omitted). It is also in the public interest to ensure Plaintiffs’ health and safety and

ensure that prison policies reflect careful, reasoned judgment, not bias or abrupt change with no

consideration of penological interests. Further, Plaintiffs’ interest in avoiding the potential

harms posed by the Order is strong because their transfer to men’s facilities would expose them

to serious risks of violence, sexual assault, and emotional trauma.

IV.     PLAINTIFFS’ PROPOSED ORDER COMPLIES WITH THE PLRA

        Under the PLRA, a district court must find that a preliminary injunction regarding prison

conditions is “narrowly drawn,” extends “no further than necessary to correct the harm the court

finds requires preliminary relief,” and is “the least intrusive means necessary to correct that

harm.” 18 U.S.C. § 3626(a)(2). Sections 4(a) and 4(c) of the Executive Order instruct BOP to

transfer Plaintiffs to men’s facilities and to cut off their necessary medical care. Any application

of those sections of the Executive Order to Plaintiffs, or prisoners who are similarly situated to

Plaintiffs, would cause them the immediate, irreparable harm detailed above. For that reason, a

preliminary injunction preventing Defendants from applying those sections of the Order to



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Plaintiffs and to prisoners similarly situated to Plaintiffs is the narrowest injunction that will still

provide the necessary relief. It is also the least intrusive means necessary to correct the

imminent harm Plaintiffs face since these provisions, if allowed to go into effect, would remove

all discretion from BOP staff to provide safer housing and medically necessary care to these

women.

        A more limited injunction would be inconsistent with a finding that Plaintiffs have shown

a substantial likelihood of success on the merits of their challenges to Sections 4(a) and 4(c).

And because the preliminary injunction sought by Plaintiffs only bars the application of those

sections to Plaintiffs and to people who are similarly situated to Plaintiffs while this case

proceeds, it extends no further than necessary to correct the harm threatened by those sections.

        The PLRA also requires district courts to give “substantial weight to any adverse impact

on public safety or the operation of a criminal justice system caused by the preliminary relief.”

Id. Maintaining the status quo of Plaintiffs’ housing and medical care while this suit proceeds

causes no adverse impact to the operation of the criminal justice system. Entering this

preliminary relief would also have no adverse effect on public safety. To the contrary, this

preliminary relief would benefit public safety by preventing the violence that Plaintiffs will face

if transferred to men’s prisons. For all of those reasons, Plaintiffs’ requested temporary

restraining order and preliminary relief complies with the PLRA.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs seek the temporary restraining order and preliminary

relief requested.




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